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                     UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF TEXAS

AARON MULVEY,                                §
Plaintiff,                                   §
                                             §
v.                                           §
                                             §
I.C. SYSTEM, INC.                            § Civil Case No.: _______________
Defendant.                                   §
                                             §
                                             §
                                             §



                             Plaintiff’s Original Complaint

                                    INTRODUCTION

     1. This action arises out of Defendant I.C. SYSTEM, INC.’S. (“IC”) (“Defendant”)

     practice of wrong number making autodialed debt collection phone calls. Defendant’s

     actions violate the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

     (“TCPA”).


     2. Plaintiff Aaron Mulvey is one such recipient of Defendant’s phone calls. Defendant

     has made numerous phone calls to Plaintiff’s cellular telephone number.


     3. Furthermore, Plaintiff Aaron Mulvey did not provide his consent to receive any of

     the messages.


     4. All of these phone calls were made using an automatic telephone dialing system,

     and none of them were sent for an emergency purpose.
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   6. The Plaintiff in this case is Aaron Mulvey who resides at 1327 Bar Harbor Dr.,

   Dallas, TX 75232.

   7. I.C. System, Inc. may be served with process through its registered agent C.T.

   Corporation System at 1999 Bryan St., Suite 900, Dallas, TX 75201-3136.

                                            Jurisdiction

   8. Jurisdiction of this court arises as the acts happened in this district.

   9. This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

      arises under the TCPA, which is a federal statute.

   10. This Court has personal jurisdiction over Defendant because Defendant conducts

      significant amounts of business within this District.

   11. Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendant

      conducts significant amounts of business within this District, because the

      wrongful conduct is believed to have emanated from this District.

                                FACTUAL ALLEGATIONS

   12. For quite some time, the defendant has been placing and connecting various debt

      collection phone calls to the plaintiff and asking to speak to Carolyn Wagers or

      Robert Wagers. Each of the calls made are for a debt collection purposes. The

      plaintiff has logged the below phone calls. Many of the phone calls either show a

      false number or a restricted phone number which . The Plaintiff received the

      following calls on the specified dates:
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                                    Incoming
                      Date           Number          Amount of Calls
                   1/20/2020      214‐282‐5215            1
                   1/16/2020      214‐282‐5215            2
                   1/15/2020      214‐282‐5215            1
                   1/11/2020      214‐282‐5215            1
                   11/7/2018      214‐282‐5215            1
                   11/1/2018      214‐282‐5215            1
                   10/29/2018     214‐282‐5215            2
                   10/26/2018     214‐282‐5215            1
                   10/24/2018     214‐282‐5215            3
                   10/23/2018     214‐282‐5215            2




   13. The calls commenced with a quick pause a few clicking noises (which indicate an

      automated telephone dialing system was being used). A few seconds later the

      plaintiff was connected to a live agent who asked to speak to a Carolyn Wagers or

      a Robert Wagers.

   14. When the calls connected to an agent, the Plaintiff was told that he was called by

      I.C. System, Inc.. In every call, the Plaintiff noticed a 5-6 second delay between

      answering the phone and the call connecting with a live person, which is

      characteristic of automated telephone dialing systems..

   15. This is just one of many harassing debt collection calls the Plaintiff has received,

      and the Plaintiff has not been able to ascertain where this erroneous information is

      coming from, and as Defendant is just content to knowingly call what could be

      wrong numbers, the Plaintiff was therefore subjected to multiple harassing phone

      calls.

   16. The Defendant also used an automated telephone dialing system to call the

      Plaintiff’s cell phone in violation of the TCPA, 47 USC 227(b) and 47 USC
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        227(c)(5) as codified under 47 CFR 64.1200(b).

     17. The calls violated 47 USC 227(b) as the calls were automated and placed to the

        Plaintiff’s cell phone without the Plaintiff’s consent and without an emergency

        purpose.

     18. The calls violated 47 CFR 64.1200(b) as the artificial or pre-recorded message

        failed to state at the beginning of the message the identity of the business,

        individual, or entity that is responsible for initiating the call. In fact, no name was

        given for the entity placing the call and even the agents only stated who they were

        calling from after the Plaintiff asked repeatedly.

     19. These calls were knowingly and willfully placed and the Defendants had or

        should have ascertained they were calling the wrong person.



                                         Actual Damages

     20. Plaintiff has suffered actual injury as a result of Defendant’s telephone calls,
         including, but not limited to:

• Data usage;

• Plan usage; and

• Lost time tending to and responding to the unsolicited phone calls




                                     CAUSES OF ACTION

                Violations of the TCPA, 47 U.S.C. § 227(c) and 47 CFR § 64.120
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   51. The foregoing actions by the Defendant constitutes multiple breaches of the

      TCPA by placing automated calls without the Plaintiff’s consent to the Plaintiff’s

      Cell phone and by placing multiple harassing and illegal calls to the Plaintiff.


   52. Plaintiff incorporates the foregoing allegations as if fully set forth herein.


   53. Defendant placed numerous telephone solicitations to Plaintiff.


   54. These telephone calls were made in the absence of express consent or any other

      written agreement permitting these calls.


   55. Many of these calls messages occurred after Plaintiff after the asked Defendant to

      stop calling.


   57. Plaintiff does not have a business relationship with Defendant.


   58. Plaintiff is entitled to an award of $1,500 in statutory damages per telephone call

      pursuant to 47 U.S.C. § 227(c)(5) as the calls can be found to have been made

      intentionally.


   59. Plaintiff is also entitled to an additional award of $1,500 per telephone call as the

      calls were made for the purposes of debt collection purposes.




                                             PRAYER

      WHEREFORE, Plaintiff Aaron Mulvey, requests the following relief:
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    A. An order preventing the Defendant from making phone calls without first showing

       this court that it has the ability to prevent and does prevent making unwanted

       future phone calls once a recipient of the call has confirmed that the defendant has

       reached the wrong number;

    B. An order declaring that Defendant’s actions, as set out above, violate 47 U.S.C. §

       227;


    C. An order prohibiting Defendant from engaging in the wrongful and unlawful acts

       described herein;


    D. An award of statutory damages;


    E. An award of treble damages; and


    F. Such other and further relief that the Court deems reasonable and just.




Dated: March 31, 2021

                                                    /s/ Aaron K. Mulvey__________

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